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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

DEREK JACKSON on behalf of
themselves and others similarly situated,
                                                            Case No. 1:19-cv-10556-TSH
       Plaintiff,
v.

SUNPATH, LTD., ANDREW GARCIA,
NATIONAL AUTO PROTECTION CORP,
and WILLIAM T. FINNERAN

      Defendants.
_______________________________________/

             DEFENDANT, WILLIAM T. FINNERAN’S, REPLY TO PLAINTIFF’S
             RESPONSE TO MOTION TO DISMISS WITH PREJUDICE UNDER
                             FEDERAL RULE 12(h)(3)

       Defendant, William T. Finneran (“Defendant”), by and through undersigned counsel,

hereby files this Reply to Plaintiff, Derek Jackson’s, Response to Defendant’s Motion to Dismiss

with prejudice under Federal Rule 12(h)(3) of the Federal Rules of Civil Procedure, and states as

follows:

I.     INTRODUCTION

       It is undisputed that at the time Plaintiff filed his Complaint and the Amended Complaint

in the instant lawsuit, his claims were barred as a matter of law. This constitutional bar was

recently discussed in detail by three different courts in evaluating motions to dismiss filed in

opposition to Telephone Consumer Protection Act (“TCPA”) claims filed in connection with

telephone calls purportedly made prior to July 6, 2020. See, e.g., Barr v. American Association of

Political Consultants, Inc., 140 S. Ct. 2335, 2346 (2020) (“AAPC”), Creasy v. Charter Communs.,

Inc., No. 20-1199 SECTION “F”, 2020 U.S. Dist. LEXIS 177798 (E.D. La. Sept. 28, 2020)

(“Creasy”) and Lindenbaum v. Realgy, Case No. 1:19-cv-2862 (N.D. Oh. 2020) (“Lindenbaum”).



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       And, since filing his Motion to Dismiss, a fourth court has determined that the TCPA was

unconstitutional prior to July 6, 2020. Hussain v. Synergy, et al., Case No. 5:20-cv-00038-JSM-

PRL, Doc. 74 (M.D. Fl. Dec. 11, 2020).           This ruling follows Creasy and Lindenbaum in

determining that the Supreme Court’s ruling in AAPC definitively established the TCPA was

rendered unenforceable following the addition of the government-backed debt exemption in 2015.

That means the Court cannot enforce the provision, and defendants sued under the TCPA for calls

made during that timeframe (including in class actions) are entitled to judgment.

       Whether or not Plaintiff knew at the time he filed this action that his claims were barred,

or whether Defendant was aware of this important line of case law at the time he filed his answer

is of no consequence with respect to the application of Rule 12(h)(3), which requires dismissal by

this Court upon determining that it has a lack of subject matter jurisdiction over the matter at any

time, such as now. Since Plaintiff’s Amended Complaint is premised on the application of an

unconstitutional law that is violative of the First Amendment, the Amended Complaint fails as a

matter of law and must be dismissed.

II.    REPLY MEMORANDUM OF POINTS AND AUTHORITIES

       Plaintiff does not argue that two of the cases on which Defendant relies upon in moving to

dismiss Plaintiff’s Amended Complaint – Lindenbaum and Creasy – were decided wrongly. [D.E.

69]. Instead, Plaintiff only attempts to distinguish AAPC, arguing that AAPC only declared

particular subsubsections of the Telephone Consumer Protection Act (“TCPA”) unconstitutional.

However, Plaintiff’s argument is wrong. Contrary to Plaintiff’s position in the Response, the

decision in AAPC is not limited to §227(b)(1)(A)(iii). Instead, the Plurality held “that the 2015

government-debt exception created an unconstitutional exception to the 1991 robocall restriction.”

AAPC, 140 S. Ct. at 2348. Nothing in AAPC or in the logic of Creasy or Lindenbaum suggests



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that only part of the TCPA restrictions were deemed invalid in AAPC; rather, the statute as a whole

was declared invalid – with one portion of the statute being stricken to salvage the entirety of the

TCPA moving forward. While Creasy and Lindenbaum specifically reference §227(b)(1)(A)(iii)

in their holdings, that is simply because those cases dealt with purported violations of that portion

of the TCPA. Nothing in those opinions limits the applicability of AAPC to other portions of the

same statute, and Plaintiff offers no explanation or argument to the contrary.

       In any event, carving up the TCPA in the manner Plaintiff suggests is appropriate would

be inconsistent with the landmark First Amendment decision on which AAPC relied: Reed v. Town

of Gilbert, 576 U.S. 155, 163-164 (2015). In Reed, the Supreme Court declared the Town of

Gilbert’s entire signage regulations unconstitutional. Unsurprisingly, the Court did not parse the

regulations to determine which portions survive strict scrutiny and which did not, but instead stated

that content based laws are subject to strict scrutiny and content neutral laws are subject to a lower

level of scrutiny. Id. A law is content-based if “a regulation of speech ‘on its face’ draws

distinctions based on the message a speaker conveys.” Reed, 576 U. S., at 163. That description

applies to a law that “singles out specific subject matter for differential treatment.” Id., at 169.

Laws favoring some speakers over others demand strict scrutiny. Id.

       The same occurred in AAPC – the Supreme Court declared the TCPA unconstitutional, but

then cured the constitutional defect by severing the government-backed debt exception. Nothing

in the opinion states that the declaration of the unconstitutionality was in any way limited to one

particular sub-section of the statute.

       Simply put, an unconstitutional statute is unconstitutional in its entirety. The Supreme

Court severed only one portion of the statute and did so on a prospective basis only. That was the

holding of Creasy and Lindenbaum respectively. Plaintiff takes an unsupported and overly



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restrictive view of AAPC, but nothing in AAPC or the Court’s First Amendment jurisprudence

supports such a narrow view of the opinion. Additionally, Defendant did not waive or forfeit his

arguments when he answered and raised affirmative defenses prior to the ruling in AAPC. The

Supreme Court of the United States has long held that “if the laws are unconstitutional and void,

the [federal court has] no jurisdiction of the causes.” Ex parte Siebold, 100 U.S. 371, 377 (1880);

see also Montgomery v. Louisiana, 136 S. Ct. 718, 724 (2016) (sentence under unconstitutional

law is void because state was deprived of authority to impose it); United States. v. Baucum, 80

F.3d 539, 540-41 (D.C. Cir. 1996) (“It is true that once a statute has been declared unconstitutional,

the federal courts thereafter have no jurisdiction over alleged violations (since there is no valid

‘law of the United States’ to enforce)[.]”); Reynoldsville Casket Co. v. Hyde, 514 U.S. 749, 760,

(1995);. As relevant here, a speaker should not be punished for engaging in speech that was

restricted in an unconstitutional fashion at the time of the speech. See Grayned v. City of Rockford,

408 U.S. 104, 107 n.2, (1972) (holding, also with regard to an invalid time-place-manner

restriction, that determining the speaker’s fate required assessing “the facial constitutionality of

the [restriction] in effect” at the time of the speech at issue). Based on the foregoing, Plaintiff’s

Amended Complaint must be dismissed under Federal Rule of Civil Procedure 12(h)(3) as this

Court lacks subject matter jurisdiction over the instant matter.

III.   CONCLUSION

       AAPC held that the TCPA’s automated-call ban was an unconstitutional, content-based

restriction when combined with the government debt exception enacted in 2015 and remained as

such until the Supreme Court severed it on July 6, 2020. AAPC, 140 S. Ct. at 2343. The violations

of the automated-call ban asserted by Plaintiff here all occurred during the time period in which

the ban was unconstitutional. Thus, the Courtmust dismiss this action under Rule 12(h)(3) with

prejudice because it lacks jurisdiction to enforce a void law against Defendant. See Marbury, 5

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U.S. at 180.

                                                     Attorneys for Defendant

                                                     WILLIAM T. FINNERAN

                                                     By: His Attorney

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 Dated:        December 14, 2020.


                                 CERTIFICATE OF SERVICE

       I, Andrew M. Schneiderman hereby certify that the documents filed through the ECF
system will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) on December 14, 2020.

                                                     /s/Andrew M. Schneiderman
                                                     Andrew M. Schneiderman




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